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                                                                  ORIGINAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                              SUPERSEDING INDICTMENT

                       V.                              S6 22 Cr. 673 (LAK)

 SAMUEL BANK.MAN-FRIED,
   a/k/a "SBF,"

                            Defendant.



                                            Overview

       1.      From at least in or about 2019, up to and including in or about November 2022,

SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, who founded and controlled the

cryptocurrency exchange FTX.com ("FTX") and the quantitative cryptocurrency trading firm

Alameda Research ("Alameda"), defrauded FTX customers, FTX investors, and lenders to

Alameda.    Exploiting the trust of FTX customers, BANK.MAN-FRIED misappropriated and

embezzled FTX customer deposits, and used billions of dollars in stolen funds for a variety of

purposes, including, among other things, to enrich himself; to support the operations of FTX; to

fund speculative venture investments; to help fund over a hundred million dollars in campaign

contributions to Democrats and Republicans to seek to influence cryptocurrency regulation; and

to pay for Alameda's operating costs. BANK.MAN-FRIED also made, and conspired with others

to make, false and fraudulent statements and representations to FTX's investors and Alameda's

lenders, including by providing false financial information to those investors and lenders.

       2.      In or about early November 2022, after SAMUEL BANK.MAN-FRIED, a/k/a

"SBF," the defendant, had embezzled and used billions of dollars in customer deposits, a

substantial number of FTX customers began seeking to withdraw their funds from FTX.
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BANK.MAN-FRIED falsely reassured FTX customers about the safety of their funds in order to

slow their withdrawals and retain their money, and conspired to and did make false statements to

Alameda's lenders to prevent them from recalling millions of dollars in loans that Alameda owed.

         BANKMAN-FRIED's Fraud on FTX's Customers and Money Laundering

       3.      SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, represented himself

as the figurehead of a trustworthy and law-abiding segment of the cryptocurrency industry that

was focused not only on profits, but also on investor and client protection. Likewise, in public

statements, including in testimony before the United States Senate, BANK.MAN-FRIED

represented that FTX had a focus on "consumer protection," that FTX had adopted "principles for

ensuring investor protections on digital asset-platforms," including "avoiding or managing

conflicts of interest," and that "as a general principle FTX segregates customer assets from its own

assets across our platforms."    BANK.MAN-FRIED further burnished his image by spending

millions of dollars to promote FTX, and its sister company FTX.US, as safe places to invest in

cryptocurrency, through celebrity endorsement deals, television advertisements, and other high-

profile promotions.

       4.      Despite the representations that SAMUEL BANKMAN-FRIED, a/k/a "SBF," the

defendant, made and caused to be made, FTX was not focused on investor or client protection, nor

was it the legitimate business that BANK.MAN-FRIED claimed.             Contrary to BANKMAN-

FRIED' s promises to FTX customers that the exchange would protect their interests and segregate

their assets, BANK.MAN-FRIED routinely misappropriated, commingled, and embezzled FTX

customer deposits to use for his and Alameda' s private spending.

       5.      As part of this scheme, to promote the interests of FTX and Alameda and to lobby

for favorable government regulation, SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant,



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used stolen customer funds in part to make campaign contributions, and made the contributions in

the names of straw donors to conceal the source of the funds.          As recently as late 2022,

BANKMAN-FRJED boasted about FTX' s profits and portrayed himself as a savior of the

cryptocurrency industry, making venture investments and acquisitions purportedly to assist

struggling industry participants, and making lavish federal campaign contributions and lobbying

members of Congress and other high-level government officials to promote cryptocurrency

regulation that would favor his business and personal interests. In fact, as BANKMAN-FRJED

well knew, FTX's finances contained a multi-billion-dollar deficiency caused by his own

misappropriation of customer funds from the exchange, and yet he continued through FTX' s

collapse in November 2022 to use misappropriated customer funds to pay for his investments,

acquisitions, and campaign contributions.

       6.      SAMUEL BANKMAN-FRJED, a/k/a "SBF," the defendant, and, at his direction,

others working at Alameda, misappropriated FTX customer funds through two primary means.

First, at BANKMAN-FRJED' s direction, FTX told customers to deposit funds into bank accounts

controlled by Alameda.     Alameda regularly took customer funds from those bank accounts,

transferred the funds to other bank accounts under Alameda's control, and used or spent the funds.

As a result of the spending of customers' deposits, FTX and Alameda had a multi-billion-dollar

deficit of customer funds. Second, BANK.MAN-FRJED and others secretly introduced special

features into FTX' s computer code, which permitted Alameda to spend and withdraw unlimited

amounts of money from FTX. While BANK.MAN-FRJED publicly and repeatedly asserted that

Alameda did not have privileged access to FTX, BANK.MAN-FRJED directed his co-conspirator,

Gary Wang, to alter FTX' s computer code to allow Alameda to accrue a negative balance on FTX' s

exchange. That modification to FTX's code, along with others implemented at BANK.MAN-



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FRIED's direction, made Alameda's account unlike those of other customers, and gave Alameda

improper preferential access to the detriment of FTX customers. While FTX typically would have

automatically liquidated a client's account once its negative balance exceeded the amount of any

posted collateral, net of fees, FTX permitted Alameda to maintain a negative balance, draw on a

multi-billion-dollar line of credit, borrow funds from FTX without sufficient collateral, evade auto-

liquidation, and withdraw funds from the exchange. Over time, BANK.MAN-FRIED directed that

Alameda's credit limit be raised so high that, in practice, Alameda was permitted to draw on FTX

accounts funded by customer assets on an unlimited basis- in amounts that exceeded FTX revenue

and tapped into customer funds.

       7.      SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, used the billions of

dollars in misappropriated FTX customer deposits to finance exorbitant spending unrelated to the

operation of the FTX platform. Among other things, BANK.MAN-FRIED used FTX customer

funds to pay for his own personal expenses, real estate in The Bahamas, speculative venture

investments, a wide-ranging political influence operation, and to repay Alameda's lenders.

       8.      For instance, at the direction of SAMUEL BANKMAN-FRIED, a/k/a "SBF," the

defendant, FTX used customer funds to help purchase more than $200 million of real estate

properties in The Bahamas. BANK.MAN-FRIED also used FTX customer funds to make billions

of dollars of investments for his own interest and the interests of his businesses. BANKMAN-

FRIED took steps to conceal that these investments and expenditures were funded by transfers

originating with Alameda, and therefore funded with FTX customer funds .              For example,

BANK.MAN-FRIED directed Caroline Ellison, a longtime associate and co-conspirator in the

fraudulent scheme, to change the name of Alameda entities that were funding venture capital

investments by FTX so that it would not be apparent that the money was corning from Alameda.



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Similarly, BANK.MAN-FRIED personally borrowed more than $1 billion from Alameda and

oversaw similar borrowing by other FTX executives, which was then principally used to make

investments in the name of BANK.MAN-FRIED and his associates, rather than in the name of

Alameda. This conduct served to conceal the close connection to Alameda, as well as the criminal

source of some of the funds.

       9.      As noted above, SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, also

used misappropriated customer money to help fund over $100 million in political contributions in

advance of the 2022 election. At BANKMAN-FRIED's direction, and to conceal the source of

the funds used for the contributions, some of the political contributions were made in the names

of FTX executives, including Nishad Singh. To conceal the fact that the Alameda account

containing FTX customer deposits was a source of the donations, BANK.MAN-FRIED directed

that money from the Alameda account be wired to these executives' personal bank accounts, and

that these executives then make donations in their own names. By directing donations through

Singh and another FTX executive, BANK.MAN-FRIED was able to evade restrictions on certain

types of political contributions, and thereby maximize FTX's political influence. He leveraged

this influence, in turn, to lobby Congress and regulatory agencies to support legislation and

regulation he believed would make it easier for FTX to continue to accept customer deposits and

grow, which would, in turn, allow the misappropriation scheme to continue. BANK.MAN-FRIED

also used these connections with politicians and government officials to falsely burnish the public

image of FTX as a legitimate exchange.

       10.     In or about June 2022, the cryptocurrency markets experienced a downturn. As a

result of the market downturn, Alameda faced demands for repayment from multiple third-party

cryptocurrency lenders on substantial outstanding loans. Alameda lacked the funds to repay these



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lenders. Rather than allow Alameda to default on its loans, which would have jeopardized the

survival of both Alameda and FTX, SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant,

authorized Alameda to draw down billions of dollars in customer assets from FTX and to use those

assets to repay Alameda's lenders. The billions of dollars that BANK.MAN-FRIED caused

Alameda to draw from FTX was funded with misappropriated customer assets and greatly

exceeded FTX' s revenue, liquid capital, and available funds under FTX's peer-to-peer lending

program. BANK.MAN-FRIED was able to divert billions of dollars in FTX customer funds to

Alameda without being detected because of the features that he had directed be built into FTX' s

code and software in order to benefit Alameda. As he authorized the misappropriation of these

funds, BANK.MAN-FRIED falsely assured the public that FTX was a safe platform that properly

maintained customer assets.

       11.     Even after SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, had

misappropriated billions of dollars of FTX customer funds to repay Alameda's lenders,

BANK.MAN-FRIED continued to cause even greater amounts ofFTX customer money to be used

for discretionary investments, charitable contributions, and political donations, including by

directing that Alameda continue to draw on its line of credit on FTX.

         BANKMAN-FRIED's Fraud on FTX's Investors and Alameda's Lenders

       12.     SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, made materially false

and fraudulent statements and representations to FTX's investors, in connection with sales ofFTX

stock to investors from 2019 through 2022.       When raising capital from investors in FTX,

BANKMAN-FRIED deceived those investors about the exchange's relationship with Alameda,

and about the safety of the exchange more generally. He deliberately concealed the fact that he

controlled FTX and Alameda, and that he used each entity to prop the other up, notwithstanding



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conflicts of interests and outright lies to the contrary. Additionally, in the course of audits of

FTX's financial statements, BANKMAN-FRJED and those acting at his direction misled auditors

and omitted material information about FTX customers, including Alameda, and about the

commingling of customer assets with Alameda funds , as well as Alameda's enormous line of credit

on the exchange. As a result of those false statements and omissions to the auditors, FTX received

false and inaccurate audited financials, which were then used to falsely reassure investors that FTX

had proper risk management controls and systems for storing customer assets.

       13.     SAMUEL BANKMAN-FRJED, a/k/a "SBF," the defendant, also conspired with

others to make and made false and fraudulent representations to Alameda's lenders in order to

prevent them from recalling loans and to obtain new loans. Although BANKMAN-FRJED had

caused Alameda to repay lenders using FTX customer funds in the summer of 2022, Alameda still

had at least hundreds of millions of dollars in outstanding loans, and had to provide financial

information to its creditors to keep those loans. BANKMAN-FRJED directed Ellison to devise a

way to mislead those creditors about the money Alameda had "borrowed" from FTX, as well as

about the substantial personal loans Alameda had made to FTX executives, and together,

BANKMAN-FRJED and Ellison provided false and misleading financial statements to creditors.

As a result of the false information, Alameda's lenders did not recall loans and issued new loans

to Alameda.

                      BANKMAN-FRIED's Lies During FTX's Collapse

       14.     In or about November 2022, as a result of negative news on the Internet, FTX

customers began withdrawing their funds from FTX. In an effort to tamp down the concerns about

FTX and stop or slow withdrawals, SAMUEL BANKMAN-FRJED, a/k/a "SBF," the defendant,

posted a series of false and misleading tweets, including tweets representing that customer assets



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were secure. Ultimately, however, FTX ceased allowing customers to make withdrawals, leaving

those customers with billions of dollars in losses, and Alameda did not repay hundreds of millions

of dollars to its lenders.

        15.     On November 11, 2022, SAMUEL BANKMAN-FRJED, a/k/a "SBF," the

defendant, resigned from FTX. FTX and approximately one hundred affiliated entities, including

Alameda, filed for Chapter 11 bankruptcy protection.

                                 STATUTORY ALLEGATIONS

                                         COUNT ONE
                               (Wire Fraud on Customers of FTX)

        The Grand Jury charges:

        16.     The allegations contained in paragraphs 1 through 15 of this Indictment are

repeated and realleged as if fully set forth herein.

        17.     From at least in or about 2019, up to and including in or about November 2022, in

the Southern District of New York and elsewhere, SAMUEL BANKMAN-FRJED, a/k/a "SBF,"

the defendant, knowingly having devised and intending to devise a scheme and artifice to defraud,

and for obtaining money and property by means of false and fraudulent pretenses, representations

and promises, transmitted and caused to be transmitted by means of wire, radio, and television

communication in interstate and foreign commerce, writings, signs, signals, pictures, and sounds

for the purpose of executing such scheme and artifice, to wit, BANKMAN-FRJED, along with

others, engaged in a scheme to defraud customers of FTX by misappropriating those customers'

deposits, and using those deposits to pay expenses and debts of Alameda to make investments, and

for other purposes.

                         (Title 18, United States Code, Sections 1343 and 2.)




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                                       COUNT TWO
                    (Conspiracy to Commit Wire Fraud on Customers of FTX)

       The Grand Jury further charges:

        18.       The allegations contained in paragraphs 1 through 15 of this Indictment are

repeated and realleged as if fully set forth herein.

        19.    From at least in or about 2019, up to and including in or about November 2022, in

the Southern District of New York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a " SBF,"

the defendant, and others known and unknown, willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to commit wire fraud, in violation of Title 18,

United States Code, Section 1343.

       20.     It was a part and object of the conspiracy that SAMUEL BANKMAN-FRIED, a/k/a

"SBF," the defendant, and others known and unknown, knowingly having devised and intending

to devise a scheme and artifice to defraud, and for obtaining money and property by means of false

and fraudulent pretenses, representations, and promises, would and did transmit and cause to be

transmitted by means of wire, radio, and television communication in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such scheme

and artifice, in violation of Title 18, United States Code, Section 1343, to wit, BANKMAN-FRIED

agreed with others to defraud customers of FTX by misappropriating those customers ' deposits

and using those deposits to pay expenses and debts of Alameda, and to make investments, and for

other purposes.

                            (Title 18, United States Code, Section 1349.)




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                                       COUNT THREE
                         (Wire Fraud on Lenders to Alameda Research)

       The Grand Jury further charges:

       21.       The allegations contained in paragraphs 1 through 15 of this Indictment are

repeated and realleged as if fully set forth herein.

       22.       From at least in or about June 2022, up to and including in or about November

2022, in the Southern District of New York and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a

"SBF," the defendant, knowingly having devised and intending to devise a scheme and artifice to

defraud, and for obtaining money and property by means of false and fraudulent pretenses,

representations and promises, transmitted and caused to be transmitted by means of wire, radio,

and television communication in interstate and foreign commerce, writings, signs, signals,

pictures, and sounds for the purpose of executing such scheme and artifice, to wit, BANKMAN-

FRIED, along with others, engaged in a scheme to defraud, including through the use of interstate

wires, lenders to Alameda by providing false and misleading information to those lenders

regarding Alameda's financial condition so that the lenders would not recall loans and would

extend new loans.

                        (Title 18, United States Code, Sections 1343 and 2.)

                                      COUNT FOUR
              (Conspiracy to Commit Wire Fraud on Lenders to Alameda Research)

       The Grand Jury further charges:

        23.      The allegations contained m paragraphs 1 through 15 of this Indictment are

repeated and realleged as if fully set forth herein.

        24.      From at least in or about June 2022, up to and including in or about November

2022, in the Southern District ofNew York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a
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"SBF," the defendant, and others known and unknown, willfully and knowingly did combine,

conspire, confederate, and agree together and with each other to commit wire fraud, in violation

of Title 18, United States Code, Sections 1343.

       25.     It was a part and object of the conspiracy that SAMUEL BANKMAN-FRIED, a/k/a

"SBF," the defendant, and others known and unknown, knowingly having devised and intending

to devise a scheme and artifice to defraud, and for obtaining money and property by means of false

and fraudulent pretenses, representations, and promises, would and did transmit and cause to be

transmitted by means of wire, radio, and television communication in interstate and foreign

commerce, writings, signs, signals, pictures, and sounds for the purpose of executing such scheme

and artifice, in violation of Title 18, United States Code, Section 1343, to wit, BANKMAN-FRIED

agreed with others to defraud, including through the use of interstate wires, lenders to Alameda by

providing false and misleading information to those lenders regarding Alameda's financial

condition so that the lenders would not recall loans and would extend new loans.

                           (Title 18, United States Code, Section 1349.)

                                     COUNT FIVE
                (Conspiracy to Commit Securities Fraud on Investors in FTX)

       The Grand Jury further charges:

       26.     The allegations contained in paragraphs 1 through 15 of this Indictment are

repeated and realleged as if fully set forth herein.

       27.     From at least in or about 2019, up to and including in or about November 2022, in

the Southern District of New York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a "SBF,"

the defendant, and others known and unknown, willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to commit an offense against the United States,

to wit, securities fraud in violation of Title 15, United States Code, Sections 78j(b) and 78ff, and


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Title 17, Code of Federal Regulations, Section 240.l0b-5.

       28.     It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRJED,

a/k/a "SBF," the defendant, and others known and unknown, willfully and knowingly, would and

did, directly and indirectly, by the use of a means and instrumentality of interstate commerce, and

of the mails and of a facility of a national securities exchange, use and employ, in connection with

the purchase and sale of a security, a manipulative and deceptive device and contrivance, in

violation of Title 17, Code of Federal Regulations, Section 240.l0b-5, by: (a) employing a device,

scheme, and artifice to defraud; (b) making an untrue statement of a material fact and omitting to

state a material fact necessary in order to make the statements made, in the light of the

circumstances under which they were made, not misleading; and (c) engaging in an act, practice,

and course of business which operated and would operate as a fraud and deceit upon a person, in

violation of Title 15, United States Code, Sections 78j(b) and 78ff, to wit, BANKMAN-FRJED

agreed with others to engage in a scheme to defraud investors in FTX by providing false and

misleading information to those investors regarding FTX's financial condition and the relationship

between FTX and Alameda.

                                            Overt Act

       29.     In furtherance of the conspiracy and to effect the illegal object thereof, the

following overt act, among others, was committed in the Southern District of New York and

elsewhere: SAMUEL BANKMAN-FRJED, a/k/a "SBF," the defendant, communicated with FTX

investors in a manner that contained materially false information about FTX' s financial condition.

                           (Title 18, United States Code, Section 371.)




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                                     COUNT SIX
   (Conspiracy to Commit Commodities Fraud on Customers of FTX in Connection with
                   Purchases and Sales of Cryptocurrency and Swaps)

        The Grand Jury further charges:

        30.     The allegations contained in paragraphs 1 through 15 of this Indictment are

repeated and realleged as if fully set forth herein.

        31.    From at least in or about 2019, up to and including in or about November 2022, in

the Southern District ofNew York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a "SBF,"

the defendant, and others known and unknown, willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to commit an offense against the United States,

to wit, commodities fraud, in violation of Title 7, United States Code, Sections 9(1) and 13(a)(5),

and Title 17, Code of Federal Regulations, Section 180.1.

        32.    It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,

a/k/a "SBF," the defendant, and others known and unknown, willfully and knowingly, would and

did, directly and indirectly, use and employ, and attempt to use and employ, in connection with a

swap, a contract of sale of a commodity in interstate commerce, and for future delivery on and

subject to the rules of a registered entity, a manipulative and deceptive device and contrivance, in

contravention of Title 17, Code of Federal Regulations, Section 180.1 , by: (a) using and

employing, and attempting to use and employ, a manipulative device, scheme, and artifice to

defraud; (b) making, and attempting to make, an untrue and misleading statement of a material

fact and omitting to state a material fact necessary in order to make the statements made not untrue

and misleading; and (c) engaging, and attempting to engage in an act, practice, and course of

business, which operated and would operate as a fraud and deceit upon a person, in violation of

Title 7, United States Code, Sections 9(1) and 13(a)(5), to wit, BANKMAN-FRIED agreed with



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others to defraud customers of FTX trading or intending to trade cryptocurrencies, futures, options,

swaps, and derivatives by misappropriating those customers' deposits and using those deposits to

pay expenses and debts of Alameda, and to make investments, and for other purposes.

                                              Overt Act

       33.     In furtherance of the conspiracy and to effect the illegal object thereof, the

following overt act, among others, was committed in the Southern District of New York and

elsewhere: in or about June 2022, SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant,

and others misappropriated FTX customer deposits in order to, among other things, satisfy loan

obligations owed by Alameda Research.

                            (Title 18, United States Code, Section 371.)

                                          COUNT SEVEN
                          (Conspiracy to Commit Money Laundering)

       The Grand Jury further charges:

       34.     The allegations contained in paragraphs 1 through 15 of this Indictment are

repeated and realleged as if fully set forth herein.

       35.     From at least in or about 2020, up to and including in or about November 2022, in

the Southern District ofNew York, and elsewhere, SAMUEL BANKMAN-FRIED, a/k/a "SBF,"

the defendant, and others known and unknown, willfully and knowingly did combine, conspire,

confederate, and agree together and with each other to violate Title 18, United States Code,

Sections 1956(a)(l)(B)(i) and 1957(a).

        36.     It was a part and an object of the conspiracy that SAMUEL BANKMAN-FRIED,

a/k/a "SBF," the defendant, and others known and unknown, in an offense in and affecting

interstate and foreign commerce, knowing that the property involved in a financial transaction, to

wit, one or more monetary transfers, represented the proceeds of some form of unlawful activity,


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would and did conduct and attempt to conduct such a financial transaction, which in fact involved

the proceeds of specified unlawful activity, to wit, the wire fraud alleged in Count One of this

Indictment, knowing that the transaction was designed in whole and in part to conceal and disguise

the nature, the location, the source, the ownership, and the control of the proceeds of specified

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(l)(B)(i).

       37.     It was a further part and an object of the conspiracy that SAMUEL BANKMAN-

FRIED, a/k/a "SBF," the defendant, and others known and unknown, within the United States,

would and did knowingly engage and attempt to engage in a monetary transaction in criminally

derived property of a value greater than $10,000 and that was derived from specified unlawful

activity, to wit, the wire fraud alleged in Count One of this Indictment, in violation of Title 18,

United States Code, Section 1957(a).

                         (Title 18, United States Code, Section 1956(h).)

                                FORFEITURE ALLEGATION

       38.     As a result of committing the offenses alleged in Counts One, Two, Three and Four

of this Indictment, SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, shall forfeit to the

United States, pursuant to Title 18, United States Code, Section 981(a)(l)(C) and Title 28 United

States Code, Section 2461(c), any and all property, real and personal, that constitutes or is derived

from proceeds traceable to the commission of said offenses, including but not limited to a sum of

money in United States currency representing the amount of proceeds traceable to the commission

of said offenses, and the following specific property:

             a.      55,273,469 shares of the stock of Robinhood Markets Inc. from Account
Number 499-30500 at ED&F Man Capital Markets, Inc., a/k/a "Marex," held in the name of
"Emergent Fidelity Technologies," seized by the Government on or about January 4, 2023;

            b.     $20,746,713.67 in United States currency formerly on deposit in Account
Numbers 499-30500 and 429-30500 at ED&F Man Capital Markets, Inc., a/k/a "Marex," held in


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the name of "Emergent Fidelity Technologies," seized by the Government on or about January 4,
2023;

              c.    $49,999,500 in United States currency formerly on deposit in Account
Number 9000-1924-02685 at Farmington State Bank d/b/a "Moonstone Bank" held in the name
of "FTX Digital Markets," seized by the Government on or about January 4, 2023 ;

               d.     $5,322,385.32 in United States currency formerly held on deposit in
Account Number 0000005090042549 at Silvergate Bank held in the name of "FTX Digital
Markets," seized by the Government on or about January 11, 2023;

             e.     $719,359.65 in United States currency formerly on deposit in Account
Number 0000005090042556 at Silvergate Bank held in the name of "FTX Digital Markets," seized
by the Government on or about January 11, 2023;

             f.     $1,071.83 in United States currency formerly on deposit in Account
Number 0000005090042564 at Silvergate Bank held in the name of "FTX Digital Markets," seized
by the Government on or about January 11, 2023;

               g.    $94,570,490.63 in United States currency formerly on deposit in Account
Number 0000005091010037 at Silvergate Bank held in the name of"FTX Digital Markets,"
seized by the Government on or about January 19, 2023;

              h.      Any and all monies, assets, and funds contained in Binance account number
94086678;

           i.     Any and all monies, assets, and funds contained in Binance.us account
number35000066;and

            J.        Any and all monies, assets, and funds contained in Binance.us account
number 35155204.

       39.    As a result of committing the offenses alleged in Count Five of this Indictment,

SAMUEL BANKMAN-FRIED, a/k/a "SBF," the defendant, shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 981 (a)(l )(C) and Title 28 United States Code,

Section 2461 (c), any and all property, real and personal, that constitutes or is derived from

proceeds traceable to the commission of said offense, including but not limited to a sum of money

in United States currency representing the amount of proceeds traceable to the commission of said

offense.



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       40.     As a result of committing the offense alleged in Count Seven of this Indictment,

SAMUEL BANK.MAN-FRIED, a/k/a "SBF," the defendant, shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 982(a)(l), any and all property, real and personal,

involved in said offense, or any property traceable to such property, including but not limited to a

sum of money in United States currency representing the amount of property involved in said

offense, and the following specific property:

             a.      55,273,469 shares of the stock of Robinhood Markets Inc. from Account
Number 499-30500 at ED&F Man Capital Markets, Inc., a/k/a "Marex," held in the name of
"Emergent Fidelity Technologies," seized by the Government on or about January 4, 2023;

              b.    $20,746,713.67 in United States currency formerly on deposit in Account
Numbers 499-30500 and 429-30500 at ED&F Man Capital Markets, Inc., a/k/a "Marex," held in
the name of "Emergent Fidelity Technologies," seized by the Government on or about January 4,
2023;

              c.    $49,999,500 in United States currency formerly on deposit in Account
Number 9000-1924-02685 at Farmington State Bank d/b/a "Moonstone Bank" held in the name
of "FTX Digital Markets," seized by the Government on or about January 4, 2023;

               d.     $5,322,385.32 in United States currency formerly held on deposit in
Account Number 0000005090042549 at Silvergate Bank held in the name of "FTX Digital
Markets," seized by the Government on or about January 11 , 2023;

             e.     $719,359.65 in United States currency formerly on deposit in Account
Number 0000005090042556 at Silvergate Bank held in the name of "FTX Digital Markets," seized
by the Government on or about January 11, 2023;

             f.     $1,071.83 in United States currency formerly on deposit in Account
Number 0000005090042564 at Silvergate Bank held in the name of "FTX Digital Markets," seized
by the Government on or about January 11 , 2023;

             g.     $94,570,490.63 in United States currency formerly on deposit in Account
Number 000000509101003 7 at Silvergate Bank held in the name of "FTX Digital Markets," seized
by the Government on or about January 19, 2023;

               h.      Any and all monies, assets, and funds contained in Binance account number
94086678;

           1.     Any and all monies, assets, and funds contained in Binance.us account
number35000066;and


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            J.          Any and all monies, assets, and funds contained in Binance. us account
number 35155204.

       41.     If any of the above-described forfeitable property, as a result of any act or omission

of the defendant: (a) cannot be located upon the exercise of due diligence; (b) has been transferred

or sold to, or deposited with, a third person; (c) has been placed beyond the jurisdiction of the

Court; (d) has been substantially diminished in value; or (e) has been commingled with other

property which cannot be subdivided without difficulty; it is the intent of the United States,

pursuant to Title 21, United States Code, Section 853(p) and Title 28, United States Code, Section

2461(c), to seek forfeiture of any other property of the defendant up to the value of the above

forfeitable property.

                           (Title 18, United States Code, Section 981;
                            Title 18, United States Code, Section 982;
                          Title 21, United States Code, Section 853; and
                           Title 28, United States Code, Section 2461.)




                                                             ~JB-
                                                             United States Attorney




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